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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Charlotte Loquasto, et al.                      §
                                                §
                       Plaintiffs,              §   Civil Action No. 3:19-CV-01455-B
                                                §
vs.                                             §           (Consolidated with
                                                §   Civil Action No. 3:19-CV-01624-B)
Fluor Corporation, Inc., et al.                 §
                                                §
                       Defendants.              §
                                                §
                APPENDIX TO ALLIANCE PROJECT SERVICES, INC.'S
                     OPPOSITION TO PLAINTIFFS' MOTION
              FOR NEW TRIAL, TO ALTER, AMEND OR VACATE ORDER,
                          AND TO TRANSFER VENUE



                                                                        PAGE

Exhibit 1       Declaration of Tod E. Nickles                            1-3
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                         EXHIBIT 1
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                            DECLARATION OF TOD E. NICKLES
                                                  NICICLES

STATE OF VIRGINIA

COUNTY OF LOUDOUN



       1.        My name is Tod E. Nickles. I am over eighteen (18) years of age and am

competent to make this declaration. I have personal knowledge of the facts contained in this

declaration, and they are true and correct. If called as a witness, I could competently testify as to

such facts.

       2.        I am the President and Chief Executive Officer of Alliance Project Services, Inc.

("APS").       I have personal knowledge of APS's business and dealings described in this

declaration.

        3.       APS is a corporation organized under the Delaware law, and its principal place of

business is located in Leesburg, Virginia. Stated conversely, APS is not incorporated in South

Carolina nor does it have its principal place of business in South Carolina.

        4.       APS has no office located in South Carolina.
                                                    Carolina,

        5.       APS has no employees located in South Carolina.

        6.       APS does not have an account at a bank located in South Carolina.

        7.       APS is not registered to do business in South Carolina and does not have an

appointed agent for service of process in South Carolina.

        8.        APS does not direct advertising to the State of South Carolina.

        9.        APS operates a website used only for providing information, advertising, and

allowing a potential customer to contact APS. The APS website does not allow a user to

consummate a transaction with APS for its products or services.




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                                                            Tod E. Nickles




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